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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Kevin Borowske, individually and on
behalf of all others similarly situated,                  Case No. 0:20-cv-01564-ECW
and the proposed Minnesota Rule 23 Class,

      Plaintiffs,

v.

FirstService Residential Minnesota, Inc.,

      Defendant.


                         NOTICE OF HEARING
________________________________________________________________________

      PLEASE TAKE NOTICE that at a date and time to be determined, the parties

shall appear before the Honorable Elizabeth Cowan Wright at the U.S. District Court for

the District of Minnesota, 316 N. Robert Street, Courtroom 3C, St. Paul, MN 55101, or

alternatively, via video conference to present Plaintiff’s Unopposed Motion for Class and

Conditional Certification and for Preliminary Approval of Settlement. Alternatively, the

Court may decide the Motion on the papers without a hearing.
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Dated: March 15, 2021                   NICHOLS KASTER, PLLP

                                        /s/ Kayla M. Kienzle
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